Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 1 of 17




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                         Case No.: 1:17-cv-24500-JLK

   JACOB ZOWIE THOMAS RENSEL,
   individually and on behalf of all others
   similarly situated,

                            Plaintiff,

   v.

   CENTRA TECH, INC., SOHRAB SHARMA,
   RAYMOND TRAPANI, ROBERT FARKAS,
   and WILLIAM HAGNER,

                            Defendants.

                               DECLARATION OF AARON CASILLAS

             I, Aaron Casillas, declare as follows:

             1.     I acquired Centra Tokens during the Centra Tech initial coin offering (“ICO”).

             2.     This declaration is based on my own personal knowledge of the matters stated

   herein.

             3.     I have no personal or business affiliation with Centra Tech or the individuals

   listed above apart from my acquisition of Centra Tokens.

             4.     I have not been compensated by Centra Tech or any other person in connection

   with this declaration.

             5.     I acquired Centra Tokens after signing up for the Centra Tech ICO through Centra

   Tech’s Token Sale web page on August 21st, 2017.

             6.     Prior to and as part of my acquisition of Centra Tokens, I viewed a pop-up type

   window on the Centra Tech website, which included a scroll bar displaying the “Token Sale
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 2 of 17




     Agreement & Terms and Co ndition s." To the best of my recollection , Exhibit 1 to this

     declaration fairly and acc urate ly depict s that pop-up type w indow .

             7.       As part of that process, I a lso ag reed to the Ce ntra Tech Token Sale Ag reement by

     clicking boxes exp ress ly indicating my agreeme nt to the terms and co nditi ons conta ined therein.

     To the best of my recollection , Exh ibits 2 to this dec laration fairly and acc urate ly depicts the

     Ce ntra Tec h Token Sa le Agreeme nt.

             8.       As part of that process, I a lso supplied Ce ntra Tech w ith personal informat ion

     inc ludin g my home address, my ema il add ress , and my telephone numbe r. To the best of my

     recol lection, Exhibit 3 to thi s declaration fairly and accurate ly dep icts the Ce ntra Tec h web page

     where J entered my per sonal inform at io n.

             r dec lare   under penalty of pe1jury under the laws of the Un ited States of A merica that the

     fo regoi ng is true and cor rect.

             Execu ted this 23 rd day of Feb ruary , 20 18.




                                                       Aaron Casi llas
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 3 of 17




                              Exhibit 1
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 4 of 17

                      Buy Tokens Now Instantly Page




                           Token Sale Agreement & Terms and Conditions
                           Youmustreadandagreetothefollowinginformationbeforeyoucanproceed



                           Thesetermsandconditions(hereinafterthe"Terms")describeinformationapplicabletotheuseofthe                centra.tech
                           website and its services, which is owned and operated by Centra Tech. By using the Website or its related services,
                           includingRefe1TalProgramandlokensaleprocess,youexpresslyagreetobeboundbyatlofthetermsand
                           conditions set forth
                           lnacceptingthisagreement,youacknowledgethatyouhavereadthisagreement,understandit,andhadan
                           opportunitytoseekindependentlegaladvicepriortoagreeingtoit.Youalsowarrantthatyouareatleast18years
                           oldandhavefullcapacitytocontractunderapplicablelaw;onlylransactingon               centra.1ech withlegally -obtained
                           fundsthatbelongtoyou;notfurthering,performing,undertak           ing,engagingin,aiding,orabettinganyunlawfvl
                           activitythroughyourrelationshipwithusorthroughyouruseof          centra.tech ;and,comportingwithandobeyingall
                           applicable laws
                           Atanypoint,ifyoudonotagreetoanyportionofthecurrentTerms,youshouldnotproceedtousetheWebsiteor
                           participateinthelokensale
                           Centra Tech has the right to review and amend the current agreement at any time without notice .
                           1.TermsandDefinitions
                           In the present document, the followinQ terms shall have the meaninQ specified below
                              lherebyconfirmthatlreadandagreetothe         lokenSaleTenns    and centratechWhitePaper
                              IHerebyacknowledgetha t theTokenSaledoesnotreceiveequityinCentraTech.lnc


                               Enteryourfullnameorinitialstodigitallysignandagree

                               Enter your initials.




                       Abritration Agreement Part 1




                           Token Sale Agreement & Terms and Conditions
                           You must read and agree to the following information             before you can proceed


                           IT IS MANDATORYALL PARTIES READ THESE TERMS OF TOKEN SALE CAREFULLY. NOTE THAT BELOW SECTIONS
                           CONTAINS A BINDING ARBITRATION CLAUSE AND CLASS ACTION WAIVER, WHICH, IF APPLICABLE TO YOU,AFFEC
                           YOUR LEGAL RIGHTS. IF YOU DO NOT AGREE TO THESE TERMS OF SALE, DO NOT PURCHASETOKENS.
                           11.WaiverofC lassAction
                           If you have a dispute with Centra Tech, Inc .• we will attempt to resolve any such disputes through our support team
                           wecan notreso lvethedisputethroughoursupportteam,youandweagreethatanydisputearisingunderthis
                           Agreement shall be finally settled in binding arbi tration, on an individual basis. in accordance with the American
                           ArbitrationAssociat ion'srulesforarbitra     tionofconsumer-re lateddisputes(accessibleat
                           https://www.adr.org/sites/default/files/Consumer%20Rules.pdf          ) and you and Centra Tech, Inc. hereby expressly
                           waivetrialbyjuryandrighttoparticipateinadassaction            lawsui t ordass-widearbitration.Thearbitrationw  ill be
                           conductedbyasing le, neutralarbitratorands       halltakeplaceinthecou     ntyorparis h inwhichyoureside , or another
                           mutually agreeable location, in the English language. The arbitrator may award any relief that a court of competent
                           jur isdiction could award, including attorneys' fees when authorized by law, and the arbitral decision may be enforce
                           inanycourt.Atyourrequest,hearingsmaybeconducted                   inpersonorbytelephoneandthearb         itratormayprovide
                           forsubmittinganddeterminingmotionsonbriefs,withou                t oralhearings.Theprevailingpartyinanyactionor
                           proc~~ding to enforc': this agr,e_ementshall be entitl~d _10co~ts and attorneys'_ fees_,If u:ie arbitrator(s) or arbitration J

                              lherebyconfirmthat l readandagreetothe       TokenSaleTerms and centratechWhitePaper
                              IHerebyacknowledgethattheTokenSatedoesnotreceiveequityinCentraTech,lnc


                               Enteryourfullnameorinitialstodig      itallysignandagree

                               Enter your Initials
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 5 of 17

                       Abritration Agreement Part 2




                           Token Sale Agreement & Terms and Conditions
                           Youmust readand agreeto the following informationbeforeyou can proceed
                                                                                              -- -- ---- ··-- -----·-
                           IT IS MANDATORYALL PARTIESREADTHESETERMSOFTOKENSALECAREFULLY. NOTETHATBELOWSECTIONS
                           CONTAINS A BINDINGARBITRATIONCLAUSEAND CLASSACTIONWAIVER,WHICH,IF APPLICABLE
                                                                                                      TOYOU,AFFEC
                           YOURLEGALRIGHTS.IF YOUDO NOTAGREETOTHESETERMSOF SALE. DO NOTPURCHASETOKENS.
                           11.WaiverofClassAction
                           If you have a dispute with CentraTech,Inc.• we will attempt to resolve any such disputes through our support team
                           we cannot resolve the dispute through our support team, you and we agree that any dispute arising under this
                           Agreement shall be finally settled in binding arbitration, on an individual basis. in accordance with the American
                           ArbitrationAssociation'srulesforarbitrationofconsumer-relateddisputes(accessibleat
                           https;//www.adr.org/sites/default/files/Consumer%20Rules.pdf ) and you and Centra Tech, Inc. hereby expressly
                           waivetrialbyjuryandrighttoparticipateinadassactionlawsuitordass-widearbitration.Thearbitrationwillbe
                           conductedbyasingle,neutralarbitratorandshalltakeplaceinthecountyorparishinwhichyoureside,oranother
                           mutually agreeable location, in the English language. The arbitrator may award any relief that a court of competent
                           jurisdiction could award. including attorneys' fees when authorized by law, and the arbitral decision may be enforce
                           inanycourt.Atyourrequest,hearingsmaybeconductedinpersonorbytelephoneandthearbitratormayprovide
                           forsubmittinganddeterminingmotionsonbriefs,withoutoralhearings.Theprevailingpartyinanyactionor
                           proc~~ding to enforc': this agr.e.ementshall be entitl~d .to co~ts and attorneys'.fees:If u:iearbitrator(s) or arbitration J

                              lherebyconfirmthatlreadandagreetothe       TokenSaleTerms and centratechWhitePaper
                              IHerebyacknowledgethattheTokenSatedoesnotreceiveequ          ityinCentraTech,lnc


                               Enteryourfullnameorini   tialstodigitallysignandagree

                               Enter your Initials




                       Abritration Agreement Part 3




                            Token Sale Agreement & Terms and Conditions
                            You must read and agree to the following information before you can proceed

                           11you nave a a1sputew1tn L:entra 1ecn,me., we w1uattempt to resolve any sucn a1sputestnrougn our support team
                           wecannotresolvethedisputethroughoursupportteam,youandweagreethatanydisputearisingunderthis
                           Agreement shall be finally settled in binding arbitration, on an individual basis. in accordancewith the American
                           ArbitrationAssociation'srulesforarbitrationofconsumer-relateddisputes(accessibleat
                           https://www.adr.org/sites/default/files/Consumer%20Rules.pdf ) and you and Centra Tech, Inc. hereby expressly
                           waivetrialbyjuryandrighttoparticipateinaclassactionlawsuitorclass            -widearbitration.Thearbitrationwi\lbe
                           conductedbyasingle,neutralarbitratorandshalltakeplaceinthecountyorparishinwhichyoureside,oranother
                           mutuallyagreeablelocation,intheEnglishlanguage.Thearbitratormayawardanyreliefthatacourtofcompetent
                           jurisdiction could award, including attorneys' fees when authorized by law, and the arbitral decision may be enforce
                           inanycourt.Atyourrequest,hearingsmaybeconductedinpersonorbytelephoneandthearbitratormayprovide
                           forsubmittinganddeterminingmotionsonbriefs,withoutoralhearings.Theprevailingpartyinanyactionor
                           proceedingtoenforcethisagreementshallbeentitledtocostsandattorneys'fees.lfthearbitrator(s)orarbitration
                           administrator would impose filing fees or other administrative costs on you, we will reimburse you, upon request. t
                           the extent such fees or costs would exceed those that you would otherwise have to pay if you were proceeding
                           insteadinacourt.Wewillalsopayadditionalfeesorcostsifrequiredtodosobythearbitrationadministrator'srule
                           orapplicablelaw.Apartfromtheforegoing,eachPartywillberesponsibleforanyotherfeesorcosts,suchas
                           attorneyfeesthatthePartymayincur.

                               lherebyconfirmthatlreadandagreetothe       TokenSaleTerms and centratechWhitePaper
                               IHerebyacknowledgethattheTokenSaledoesnotreceiveequityinCentraTech,lnc


                                Enteryourfullnameorinitialstodigitallysignandagree     :

                               LoHNDOcl
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 6 of 17




                              Exhibit 2
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 7 of 17




                          Token Sale Agreement
   You must read and agree to the following information before you can proceed.

   Terms of Token Purchase
   1. Introduction
   These terms and conditions (hereinafter the “Terms”) describe information
   applicable to the use of the centra.tech website and its services, which is owned
   and operated by Centra Tech. By using the Website or its related services,
   including Referral Program and Token sale process, you expressly agree to be
   bound by all of the terms and conditions set forth.
   In accepting this agreement, you acknowledge that you have read this agreement,
   understand it, and had an opportunity to seek independent legal advice prior to
   agreeing to it. You also warrant that you are at least 18 years old and have full
   capacity to contract under applicable law; only transacting on centra.tech with
   legally-obtained funds that belong to you; not furthering, performing,
   undertaking, engaging in, aiding, or abetting any unlawful activity through your
   relationship with us or through your use of centra.tech; and, comporting with and
   obeying all applicable laws.
   At any point, if you do not agree to any portion of the current Terms, you should
   not proceed to use the Website or participate in the Token sale.
   Centra Tech has the right to review and amend the current agreement at any time
   without notice.
   1. Terms and Definitions
   In the present document, the following terms shall have the meaning specified
   below:
   “Bitcoin” or “BTC” means the digital currency and payment system using peer-
   to-peer transactions verified by network nodes and recording in a public
   distributed ledger.
   “Blockchain” - a distributed database that maintains a continuously growing list
   of ordered records called blocks. By design, blockchains are inherently resistant
   to modification of the data — once recorded, the data in a block cannot be
   altered retroactively.
   “Escrow” - money held by a third-party entity on behalf of transacting parties.
   “Ethereum” or “ETH” means the digital currency and payment system using
   peer-to-peer transactions verified by network nodes and recording in a public
   distributed ledger.
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 8 of 17




   “GitHub” - is a development platform that provides hosting and reviewing code,
   managing projects, and building software alongside millions of other developers.
   The Centra Tech account is available at https://github.com/centra-tech.
   “Purchaser” (“User”) - a person participating in the token sale for the purpose of
   joining a rewards program and benefits package as defined by Centra Tech. Once
   a Purchaser creates an account on the Centra Tech Website and confirms his
   email, he becomes a “Registered Purchaser” subject to our approval authority.
   “Purchaser” - legal or natural person participating in the Initial Coin Offering.
   “Service” (“System”) - Centra Tech blockchain rewards platform and currency
   conversion engine module at centra.tech.
   “Smart contracts” (“Smart contract system”) - are self-executing contractual
   states, stored on the Ethereum blockchain, which nobody controls and therefore
   everyone can trust.
   "CTR Token” – an ERC-20-compatible smart contract on Ethereum blockchain
   used in the Centra Tech ICO. It represents the proof of participation in the
   Centra Tech ICO and the opportunity to receive a part of a incentivized rewards
   program, as described in these Terms and the Whitepaper.
   “Token Holder” The name given to registered purchasers who purchase the CTR
   Tokens as a procurator of the benefits package.
   “Token sale” (“Initial Coin Offering”, “ICO”) - a process of capital rising by
   which funds are raised for a new cryptocurrency venture in connection with our
   registered purchaser benefits program.
   “Website” - the website on the Internet at centra.tech.
   “Whitepaper” – an informational document issued by a Centra Tech, Inc.
   highlighting the features of the Service, available for download
   at http://wp.centra.tech.
   2. Status of these Terms
   2.1. The purpose of these Terms is to explain the functionality Service and to
   notify the persons who intend to enter into the relations with Service about the
   risks connected with the use of Service.
   2.2. The list of risks specified in these Terms is not comprehensive, as well as it
   may not contain those risks which cannot be predicted at the present moment. If
   you are not sure that you can estimate the probability of occurrence of such risks
   by yourself, you are advised to contact an appropriate specialist (a lawyer, an
   auditor, an adviser or a programmer) before making a decision about entering
   into the relations with the Service.
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 9 of 17




   2.3. Reviewing these Terms does not substitute reviewing the Blockchain
   system. By transferring bitcoins/ethereum to the Service you confirm that you
   have read the Blockchain system instructions and fully and unconditionally agree
   with the conditions hereof.
   2.4. You may not take legal actions against the Service connected with using of
   Service, including, but not limited to claims based on the fact that you did not
   read nor did not understand the terms and conditions of the Blockchain system.
   Legal actions against the services offered for reasons of misunderstanding will
   not be substantiated.
   2.5. These Terms might be amended and/or updated in the future. The relevant
   Terms are the ones showed on the Site. In order to obtain the most complete and
   current information regarding the Service you should periodically review this
   section.
   3. Token Sale
   3.1 In order to complete the Centra Line of products Centra Tech is Holding a
   Initial Coin Offering of CTR Tokens. This Token will act as a connection to our
   service, enhancing and allowing the functionality to take place while not directly
   connecting the registered purchaser to the accessible value of the token based on
   terms of use restrictions outlined.
   3.2. By transferring Bitcoin (BTC) or other supported cryptocurrencies to the
   Centra Tech address in exchange for CTR Tokens, the Purchaser confirms to
   understand and accept that he/she makes a rewarded output based contribution
   into a Centra Tech System for the development of the project, as described in the
   Centra Tech Whitepaper, available at the Centra Tech website.
   3.3. The Purchaser understands and accepts that while the individuals and
   entities, including Centra Tech, assigned to this task will make reasonable efforts
   to develop the Centra Tech System, it is possible that such development may fall
   from the scope and purchaser’s CTR Tokens be rendered devalued and/or
   valueless due to technical, commercial, regulatory or any other reasons subject to
   these and project terms.
   3.4. The Purchaser understands that there may be serious risks connected with
   cryptocurrency, such as heavy fluctuations of virtual or actual currency values,
   which in turn may lead to loss of currency over short or long periods. This is an
   uncontrollable factor based on Centra Tech market availability.
   3.5. The Purchaser acknowledges and understands that the Tokens have no
   warranty whatsoever, expressed or implied, to the extent permitted by
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 10 of 17




    Applicable Law and accordingly that Tokens are purchased on an "as is" basis,
    expecting no forward retribution further as an example of ‘dividends’.
    3.6. The Purchaser also understands that Centra Tech will not provide any refund
    of the purchase price for Tokens under any circumstance, pursuant to these
    terms.
    3.7. The Purchaser further agrees to accept sole and exclusive risk for the
    purchase of Tokens through the Centra Tech Service. The Purchaser recognizes
    that the Centra Tech Platform is currently being developed and may undergo
    significant changes before release, undisputed by individual or group
    contribution.
    3.8. In order to reduce the possibility of fraud, phishing attempts and other
    schemes perpetrated by malicious third parties, the Purchaser agrees not to
    respond directly to any inquiry regarding its purchase of Tokens, including but
    not limited to email requests purportedly coming from Centra Tech. The
    Purchaser understands that Centra Tech may send the Purchaser emails from
    time-to-time, but these email notices will never ask for information or require a
    response from the Purchaser. Furthermore, the registered purchaser understands
    that its contribution to the program will be viewed as a for-benefit purchase.
    3.9. The Purchaser recognizes that Centra Tech does not warrant the period of
    time for which the Centra Tech Service will be operational. The Centra Tech
    Service may be abandoned by Centra Tech for a number of reasons, including a
    lack of interest from the public, a lack of funding to develop similar products,
    and competing non-affiliates built on the same underlying protocol and open
    source technology.
    3.10. The Purchaser understands that between the time of purchase of Tokens by
    means of the Token sale and the inception of the Centra Tech Service, Tokens
    will be usable in the Purchaser's discretion and shall be therefore be a considered
    an asset class.
    3.11. By purchasing the CTR Tokens, the Purchaser confirms that he/she:
    - Is legally permitted to purchase Tokens in the Purchaser’s jurisdiction;
    - Is of a sufficient age to legally purchase Tokens or has received permission
    from a legal guardian who has reviewed and agreed to these Terms and the Sale
    Agreement;
    - Will take sole responsibility for any restrictions and risks associated with the
    purchase of Tokens as set in the Terms;
    - Is not exchanging Bitcoin for Tokens for the purpose of speculative investment;
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 11 of 17




    - Has a full and complete understanding of the usage and intricacies of
    Blockchain-based assets, like Tokens, Bitcoins and Blockchain-based software
    systems.
    3.12. After purchasing CTR Tokens, the Purchaser becomes a Token Holder.
    Token holders are enrolled in the Centra Rewards program to earn rewards and
    obtain benefits. Token Holders by no means own any securities or interest in
    Centra Tech. 3.13. The price of one CTR Token is set at 400/1 ETH, 3500/1
    BTC, and 70/1 LTC during our ICO. There will be maximum 100,000,000
    Tokens issued with the following distribution:
    - 68% of the Tokens for sale (including pre-ICO);
    - 12% allocated for development team;
    - 20% of the Tokens - for advisors and bounty campaign, nescrow costs, tech and
    marketing consulting;
    All unsold Tokens will be burned.
    3.14 CTR Tokens are classified as utility tokens and are equivalent to program
    points redeemable on the Centra Card or cBay platforms. They are not securities,
    investments, shares, or ownership to Centra Tech Inc.
    4. Taxation
    The Users bears the sole responsibility to determine if the contribution to and
    receipt from the Smart Contract System, including but not limited to the
    acquisition of Tokens, change of the Token's value with the course of time and
    the receive function of the Smart Contract System shall be a taxable event for the
    User. The Users bear full responsibility for timely and correct calculation and
    payment of all taxes due in accordance with the legislation applicable to the
    Users. The Service is not a tax agent of the User, as well as it does not advise the
    User on the order of calculation and/or the payment of taxes.
    5. No Forward-Looking Statements
    5.1 Nothing in the Service, in the Terms or in any statements or information
    contained on the Site at any moment, or in any means of communication of the
    Service (including but not limited to the publications in social media, as well as
    the statements or declarations made by inter alia the representatives of the
    Service, notwithstanding whether they had been made personally or on behalf of
    the Service), notwithstanding the time of their occurrence, shall be construed as
    the guarantee of gaining profit or benefit in any other form. The Purchasers
    understand that participating in Token Sale may result in financial losses.
    5.2. The Purchaser understands and accepts that while the individuals and
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 12 of 17




    entities assigned to provide certain tasks to develop Service make reasonable
    efforts to develop, complete these tasks as well as operating the Services under
    any regulatory scheme, it is possible that such development may fail and Tokens
    become useless or valueless due to technical, commercial, regulatory or any
    other reasons.
    5.3. Hence, User therefore understands and accepts that the transfer of BTC or
    other virtual currencies to the Service may result in a total loss and that
    Purchaser shall not have any claim whatsoever to reclaim any BTC or other
    virtual currency is lost.
    6. No Liability
    6.1. The Purchaser acknowledges and agrees that, to the fullest extent permitted
    by any applicable law, the Purchaser will not hold any developers, auditors,
    contractors or founders of the Service, the Blockchain System liable for any and
    all damages or injury whatsoever caused by or related to the use of, or the
    inability to use, Tokens, Services or Blockchain system under any cause or
    action whatsoever of any kind in any jurisdiction, including, without limitation,
    actions for breach of warranty, breach of contract or tort (including negligence)
    and that developers, auditors, contractors or founders of the Blockchain System
    and/or the Services shall not be liable for any indirect, incidental, special,
    exemplary or consequential damages, including for loss of profits, goodwill or
    data, in any way whatsoever arising out of the use of, or the inability to use of
    the Blockchain System and/or Services. The Purchaser further specifically
    acknowledges that developers, auditors, contractors or founders of the Tokens,
    Smart Contract System and/or the Services are not liable, and the User agrees not
    to seek to hold them liable, for the conduct of third parties, including other
    creators of Token, and that the risk of creating, holding and using Token rests
    entirely with the User. By creating or holding Token, and to the extent permitted
    by law, the User agrees not to hold any third party (including developers,
    auditors, contractors or founders) liable for any regulatory implications or
    liability associated with or arising from the creation or ownership of Token or
    any other action or transaction related to the Smart Contract System.
    6.2. The Service does not guarantee the permanent and uninterruptible operation
    of the Site and does not take any responsibility for direct, indirect, accidental,
    special, circumstantial or punitive damages, including but not limited to the
    losses in the form of lost profit for the mistakes and/or technical issues in
    operation of the Site, or restriction of the access to the Site on the territory of
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 13 of 17




    any jurisdiction.
    7. Miscellaneous
    7.1. The User understands and accepts that the network of miners will be
    ultimately in control of the Smart Contract System. The User understands that a
    majority of these miners could agree at any point to make changes to the official
    Smart Contract System and to run the new version of the Smart Contract System.
    Under such a scenario, Tokens will likely have no intrinsic value.
    7.2. The User agrees that if any portion of these Terms is found illegal or
    unenforceable, in whole or in part, such provision shall, as to such jurisdiction,
    be ineffective solely to the extent of such determination of invalidity or
    unenforceability without affecting the validity or enforceability thereof in any
    other manner or jurisdiction and without affecting the remaining provisions of
    the Terms, which shall continue to be in full force and effect.
    7.3. The Terms govern the creation, transfer and holding of the Tokens and
    supersede any public statements about the launch of Tokens and/or the Smart
    Contract System made by anyone in the past, present and future.
    7.4. The applicable law is State of Delaware law. Any dispute arising out of or in
    connection with the creation of the Tokens and the development of Services shall
    be finally settled by the ordinary courts of the registered domicile of the
    defendant.
    8. Lack of Corporate Governance
    8.1 CTR Tokens confer no governance rights of any kind with respect to
    Company, all decisions involving the Company will be made by Company at its
    sole discretion, including, but not limited to, decisions to discontinue
    contributions ongoing development or to sell or liquidate the Company.
    9. Evolving Legal Application
    9.1 The distributed protocol and decentralized application ecosystem, and by
    extension the terms associated with Centra Tech, may be subject to a variety of
    federal, state and international laws and regulations, including those with respect
    to consumer privacy, data protection, consumer protection, content regulation,
    network neutrality, cyber security, intellectual property (including copyright,
    patent, trademark and trade secret laws), and others. These laws and regulations,
    and the interpretation or application of these laws and regulations, could change.
    In addition, new laws or regulations affecting CTR could be enacted, which
    could adversely impact the Company, raising of the Token Sale(s), development
    of the Centra Tech project, and oversale value of the utility token.
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 14 of 17




    9.2 Additionally, the users and developers of CTR, may be subject to industry
    specific laws and regulations or licensing requirements. If any of these parties
    fails to comply with any of these licensing requirements or other applicable laws
    or regulations, or if such laws and regulations or licensing requirements become
    more stringent or are otherwise expanded, it could adversely impact the Utility.
    10. Additional Risks
    10.1 Utility tokens such as CTR are a new and untested technology. In addition
    to the risks included in these terms, there are other risks associated with your
    purchase, holding and use of CTR including those that the Company cannot
    anticipate. Such risks may further materialize as unanticipated variations or
    combinations of the risks. Centra Tech absolves itself from these occurrences at
    the discretion of the registered purchasers overall responsibility to conduct
    reasonable amounts of research into the project and furthermore the use and
    valuation of currencies.
    IT IS MANDATORY ALL PARTIES READ THESE TERMS OF TOKEN
    SALE CAREFULLY. NOTE THAT BELOW SECTIONS CONTAINS A
    BINDING ARBITRATION CLAUSE AND CLASS ACTION WAIVER,
    WHICH, IF APPLICABLE TO YOU, AFFECT YOUR LEGAL RIGHTS. IF
    YOU DO NOT AGREE TO THESE TERMS OF SALE, DO NOT
    PURCHASE TOKENS.
    11. Waiver of Class Action
    If you have a dispute with Centra Tech, Inc., we will attempt to resolve any
    such disputes through our support team. If we cannot resolve the dispute
    through our support team, you and we agree that any dispute arising under
    this Agreement shall be finally settled in binding arbitration, on an
    individual basis, in accordance with the American Arbitration Association's
    rules for arbitration of consumer-related disputes (accessible
    athttps://www.adr.org/sites/default/files/Consumer%20Rules.pdf ) and you
    and Centra Tech, Inc. hereby expressly waive trial by jury and right to
    participate in a class action lawsuit or class-wide arbitration. The
    arbitration will be conducted by a single, neutral arbitrator and shall take
    place in the county or parish in which you reside, or another mutually
    agreeable location, in the English language. The arbitrator may award any
    relief that a court of competent jurisdiction could award, including
    attorneys' fees when authorized by law, and the arbitral decision may be
    enforced in any court. At your request, hearings may be conducted in person
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 15 of 17




    or by telephone and the arbitrator may provide for submitting and
    determining motions on briefs, without oral hearings. The prevailing party
    in any action or proceeding to enforce this agreement shall be entitled to
    costs and attorneys' fees. If the arbitrator(s) or arbitration administrator
    would impose filing fees or other administrative costs on you, we will
    reimburse you, upon request, to the extent such fees or costs would exceed
    those that you would otherwise have to pay if you were proceeding instead in
    a court. We will also pay additional fees or costs if required to do so by the
    arbitration administrator's rules or applicable law. Apart from the
    foregoing, each Party will be responsible for any other fees or costs, such as
    attorney fees that the Party may incur.
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 16 of 17




                               Exhibit 3
Case 1:17-cv-24500-RNS Document 34-4 Entered on FLSD Docket 02/23/2018 Page 17 of 17

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                            I hereby confirm that I read and agree to the Token Sale Terms and centra tech White Paper




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                            I hereby acknowledge   that the Token Sale does not give me equity, shares or securities in Centra Tech, Inc. and the Centra
                       Token is utility




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                                                                                  ernoi l:support@)centro.tech
